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BTXN 176 (rev. 12/15)
                                                UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS


In Re:                                                                         §
Matthew Deion Bateman                                                          §      Case No.: 17−32081−bjh13
                                                                               §      Chapter No.: 13
                                                      Debtor(s)                §


       NOTICE OF REQUIREMENT TO FILE A STATEMENT OF COMPLETION OF
                COURSE IN PERSONAL FINANCIAL MANAGEMENT
                              (Official Form 423)
Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course in personal
financial management in order to receive a discharge under chapter 13 (11 USC § 1328) . Pursuant to Rule 1007(b)(7)
of the Rules of Bankruptcy Procedure, the debtor(s) must complete and file Debtor's Certification of Completion of
Instructional Course Concerning Personal Financial Management (Official Form 423)* as described in 11 U.S.C. §
111.

Debtor(s) and/or debtor(s)' attorney is/are hereby notified that Official Form 423 must be filed before a discharge can
be entered. Debtor(s) and/or debtor(s)' attorney is/are hereby notified that the debtor(s) must file Official Form 423 no
later than the date when the last payment was made by the debtor as required by the plan or the filing of a motion for
a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. Failure to file the certification will result in the case
being closed without an entry of discharge. If the debtor(s) subsequently file(s) a Motion to Reopen the Case to allow
for the filing of the Official Form 423, the debtor(s) must pay the full reopening fee due for filing the motion.

DATED: 8/25/17                                                 FOR THE COURT:
                                                               Jed G. Weintraub, Clerk of Court
          *NOTE: Official Form 423 (Debtor's Certification of Completion of Instructional Course Concerning Personal Financial Management) must be
          filed in all individual chapter 13 and chapter 7 cases even if the U.S. Trustee has not approved any credit counseling agency or financial
          management course for the applicable district. See Rule 1007(b)(7).
